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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

 In re:                                    )
                                           )
 11380 SMITH ROAD, LLC,                    )     Case No. 18-10965
 EIN: XX-XXXXXXX,                          )     Chapter 11
                                           )
         Debtor.                           )
                                           )
 _____________________________________________________________________________

     ORER GRANTING JOINT MOTION TO HOLD IN ABEYANCE: (A) THE DEBTOR’S
     DISCLOSURE STATEMENT DATED MARCH 23, 2018 (DOCKET NO. 54); AND (B)
     11380 EAST SMITH RD INVESTMENTS, LLC’S, MOTION: (I) FOR RELIEF FROM
           THE AUTOMATIC STAY PURSUANT TO SECTION 362(D)(1) OF THE
      BANKRUPTCY CODE; AND (II) TO DISMISS THIS CHAPTER 11 BANKRUPTCY
     CASE FOR BAD FAITH PURSUANT TO SECTION 1112(B) OF THE BANKRUPTCY
                             CODE (DOCKET NO. 75)


                 THIS MATTER having come before the Court upon the JOINT MOTION TO
 HOLD IN ABEYANCE: (A) THE DEBTOR’S DISCLOSURE STATEMENT DATED MARCH 23,
 2018 (DOCKET NO. 54); AND (B) 11380 EAST SMITH RD INVESTMENTS, LLC’S, MOTION:
 (I) FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO SECTION 362(D)(1) OF
 THE BANKRUPTCY CODE; AND (II) TO DISMISS THIS CHAPTER 11 BANKRUPTCY CASE
 FOR BAD FAITH PURSUANT TO SECTION 1112(B) OF THE BANKRUPTCY CODE
 (DOCKET NO. 75) (the “Motion”),1 and finding that notice of the Motion under Rule 9006(b) of
 the Bankruptcy Rules was appropriate, and finding that “compelling circumstances” under the
 Court’s Continuance Order exist along with “cause” under Rule 9006(b) of the Bankruptcy Rules
 also exists for granting the Motion, the Court hereby:

              FINDS THAT “compelling circumstances” exist in this case under the Court’s
 Continuance Order;

              FINDS THAT “cause” exists as set forth in the Motion under Rule 9006(b) of the
 Bankruptcy Rules;

                     ORDERED THAT the Motion is hereby granted; and it is

              FURTHER ORDERED that the Lender’s Stay Relief Motion is hereby held in
 abeyance pending this Court’s determination of the Approval Motion;




 1
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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               FURTHER ORDERED that the hearing set on Lender’s Combined Stay Relief
 Motion and Motion to Dismiss, presently set for May 17, 2018, at 9:30 a.m., is hereby
 vacated pending this Court’s determination of the Approval Motion;

                FURTHER ORDERED that approval of the Debtor’s Disclosure Statement is
 hereby held in abeyance pending this Court’s determination of the Approval Motion;

                FURTHER ORDERED that the hearing on the adequacy of the Debtor’s
 Disclosure Statement, presently set for May 17, 2018, at 9:30 a.m., is hereby vacated pending
 this Court’s determination of the Approval Motion;

               FURTHER ORDERED that if the Court denies the Approval Motion, then
 Lender must file its notice of intent to proceed with the Stay Relief Motion within 2 business
 days from entry of such order or the Stay Relief Motion may be dismissed without prejudice.

 DATED: May 16, 2018.

                                            BY THE COURT:


                                            _____________________________________
                                            Honorable Thomas B. McNamara
                                            United States Bankruptcy Judge




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